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Defendant’s Supplement to Sentencing Position Memorandum

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To the Honorable Judge Cormac J. Carney,

My name is Chance Brannon, and ] am the defendant in the case United States v.
Brannon. | am writing you this letter in advance of sentencing in order to introduce myself and
provide some background on my life and actions. I am not writing to seek pity, claim I was
misled or brainwashed, or beg for mercy. My actions were and are my own, and I take full
accountability for my crime and its consequences. It is my desire is that upon reading this letter,
you will view me as a person and not a name on a court document. I believe justice is better
served with as much knowledge and context as possible.

At the age of nineteen, I enlisted in the United States Marine Corps and left for boot
camp soon after graduating high school. I enlisted to find adventure, camaraderie, self-
improvement, and meaning. Though my parents deeply desired for me to attend college, I was
unmotivated academically and unsure of what life path to take through education. The first two
years of my five-year contract were spent in training for my job-cryptologic linguist. After this
primarily academic period, | was itching to go to work-to do what I had joined the Marines to do.
I wanted to deploy as soon as possible, no matter how dangerous, lengthy, or far away it was. I
wanted to fight for a good cause.

As it turned out, that would not be so easy. Merely as a consequence of the time I lived
in, deployment opportunities were increasingly infrequent. For the time being, I was relegated to
a repetitive, seemingly pointless desk job where my assignments were largely make-work.
Although I persisted in asking to be sent abroad-and superiors assured me it would happen soon-
my opportunity never materialized. In the meantime, I tried to make myself useful and quell my
restlessness by volunteering for as many side billets and field training operations as I could. It
became a running joke in my unit that | was the battalion’s designated truck driver. But still, I
was deeply unsatisfied. I greatly feared that my five years would elapse without any meaningful
experience, but | was hesitant to reenlist merely for my “sunk cost.” Having possibly wasted five
years of my life, I did not want to hazard five more for the slim possibility of a future
deployment. I was also mad at the Corps as an institution for putting me in this situation. Asa
result, | was deeply frustrated and unfulfilled.

To make matters worse, | felt no respite at home. My family lives in southern California,
near where I was stationed, so | visited on an almost weekly basis after my job schooling was
complete. However, from the first moment I came home, I felt alienated from my family. They
seemed so different from me that it was as if they had been replaced by impostors. | felt as if
there was a glass barrier between my loved ones and me. To me, they seemed overly obsessed
with media, politics, and trends-not the critical-thinking family I knew growing up. We did not
enjoy the same things anymore, and 1 could not explain what was wrong without upsetting them.
I believed that the highly polemicized political environment of recent years was at least partially
a cause, It came to a point where | dreaded coming hoine, but I loved my family too much to stop
visiting. It was not long before I resolved to take out my anger in some way.

Since the source of my woes primarily appeared to be institutional, | decided to target an
institution of some kind. I am a Roman Catholic by birth and by choice, and my faith strongly
informs ail choices | make. Consequently, | am deeply opposed to abortion, which I believe is
infanticide (J do not intend to proselytize or write a manifesto, and respect that you and I may
differ on this matter). I am equally opposed to murder, so I knew I had to conduct my actions ina
way that would harm no one. Particularly inspired by the tale of Gideon destroying the idol of
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Ba’al (Judges 5:25-28), I conspired with my co-defendant Tibet Ergul to set fire to a Planned
Parenthood abortion clinic. I trusted Tibet as a reliable co-conspirator and “comrade-in-arms” as
we were longtime friends with similar views on the issue. My primary goal was to make a
statement against their actions and to inspire similar acts of arson. I understand how malicious
and antisocial this sounds (and now, with the benefit of hindsight and reflection, see how much it
indeed was), but at the time, I rationalized my thought process with the idea that no one would be
harmed and that no length was too far when it came to stopping mass infanticide. Fully
convinced of the righteousness of my actions, and excited by the prospect of it, I threw a
Molotov cocktail at the clinic at night. After fleeing the scene, I felt a level of fulfillment and
satisfaction I had not experienced in recent memory. This initial “high” could not contrast more
with the profound regret I feel now.

You may ask what the connection between my career and familial frustrations and
abortion is. I freely admit there is no direct connection, and I only selected the Planned
Parenthood building because it was the most “morally justifiable” target I could find to vent my
anger. Perhaps, more broadly speaking, I sought the righteous conflict that the Marine Corps had
denied me in actions at home. | do not wish to wax philosophy, but I believe many young men-
myself included-seek and are excited by conflict as a break from the mundane. I am nota
psychologist, however, so I will not attempt to delve into any deep-seated motives I may have
had. What I can say, however, is that since my arrest I have wished every day that I could undo
my actions. If I had known I would scandalize my family and shatter my future, I would have
never done it. In the time before my arrest, it seemed the best time of my life was approaching.
Despite my unsatisfactory Marine Corps experience, I had earned my associate’s degree and had
enrolled into college to earn my bachelor’s. Additionally, I had future employment which I
eagerly anticipated-as a cell tower repairman-already lined up. I was planning to go to Europe to
walk the Camino del Santiago, followed by a trip to Costa Rica to visit my newborn sister for the
first time. All this came to a resounding halt the morning of my arrest.

With regards to my illegal firearms possession, my motives were more banal. I have long
enjoyed shooting as a hobby, and in my eyes, the ATF’s increasingly byzantine regulations were
unjust and pointless. It did not help that these rules were by and large set by appointed, not
elected, bureaucrats. Seeing as I already used various restricted weapons in the military, it
seemed harmless to me to modify my personal weapons as I saw fit. Of course, the government
takes the enforcement of these regulations very seriously-a fact 1 am obviously more cognizant
of now.

I cannot claim to have enjoyed my time incarcerated so far, but I have tried my best to
spend it in a productive manner. I have attended and graduated from several of the classes that
the facility offers, and read a great deal of books. I also exercise daily and participate in religious
services as often as possible. I volunteer to help out the staff when needed, and am seeking
employment as a trustee. ] hope to leave the jail not with a record that is not just unblemished,
but exemplary; furthermore, I wish to maintain that trend in prison. It is with that goal in mind
that I desire to go to FC] Englewood, Colorado, where various unique residential programs for
veterans are offered.

Regardless of the sentence I receive, I know the nature of my charge and publicity of my
case preclude virtually all employment possibilities. Given all this, it is my hope that you see that
I am not a monster-rather, a young man who has made a very serious mistake and greatly desires
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to make amends and rejoin society. Thus, I earnestly desire to rejoin society as soon as I can so
that I may go to college, start a family, and otherwise make the best out of my situation. Instead
of seeking immediate employment, I intend to study engineering at Boise State University, and
volunteer for international aid work in the Peace Corps or Red Cross. I see this as a good way to
give back and perform fulfilling, meaningful work in spite of a criminal record. I have only
myself to blame, of course. | accomplished nothing good by my crimes. Every day, I wish I can
undo my actions; however, all I can do is plan for a better future. With all this in mind, I believe
you will be better informed with regards to the appropriate sentence I ought to receive.

Very Respectfully,

Chance Michael Brannon
